Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 1 of 107 PageID #:128


                                                           FIL/3E/2D
                                                                   021
                                                                                     JN
                                                                11
                                                                        . BRUTO    N
                                                              THOMA.SDG
                                                                      IS T R IC T COURT
                                                           CLERK, U.S
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 2 of 107 PageID #:129
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 3 of 107 PageID #:130
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 4 of 107 PageID #:131
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 5 of 107 PageID #:132
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 6 of 107 PageID #:133
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 7 of 107 PageID #:134
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 8 of 107 PageID #:135
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 9 of 107 PageID #:136
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 10 of 107 PageID #:137
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 11 of 107 PageID #:138
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 12 of 107 PageID #:139
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 13 of 107 PageID #:140
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 14 of 107 PageID #:141
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 15 of 107 PageID #:142
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 16 of 107 PageID #:143
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 17 of 107 PageID #:144
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 18 of 107 PageID #:145
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 19 of 107 PageID #:146
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 20 of 107 PageID #:147
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 21 of 107 PageID #:148
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 22 of 107 PageID #:149
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 23 of 107 PageID #:150
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 24 of 107 PageID #:151
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 25 of 107 PageID #:152
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 26 of 107 PageID #:153
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 27 of 107 PageID #:154
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 28 of 107 PageID #:155
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 29 of 107 PageID #:156
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 30 of 107 PageID #:157
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 31 of 107 PageID #:158
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 32 of 107 PageID #:159
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 33 of 107 PageID #:160
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 34 of 107 PageID #:161
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 35 of 107 PageID #:162
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 36 of 107 PageID #:163
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 37 of 107 PageID #:164
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 38 of 107 PageID #:165
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 39 of 107 PageID #:166
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 40 of 107 PageID #:167
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 41 of 107 PageID #:168
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 42 of 107 PageID #:169
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 43 of 107 PageID #:170
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 44 of 107 PageID #:171
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 45 of 107 PageID #:172
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 46 of 107 PageID #:173
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 47 of 107 PageID #:174
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 48 of 107 PageID #:175
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 49 of 107 PageID #:176
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 50 of 107 PageID #:177
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 51 of 107 PageID #:178
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 52 of 107 PageID #:179
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 53 of 107 PageID #:180
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 54 of 107 PageID #:181
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 55 of 107 PageID #:182
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 56 of 107 PageID #:183
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 57 of 107 PageID #:184
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 58 of 107 PageID #:185
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 59 of 107 PageID #:186
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 60 of 107 PageID #:187
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 61 of 107 PageID #:188
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 62 of 107 PageID #:189
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 63 of 107 PageID #:190
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 64 of 107 PageID #:191
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 65 of 107 PageID #:192
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 66 of 107 PageID #:193
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 67 of 107 PageID #:194
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 68 of 107 PageID #:195
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 69 of 107 PageID #:196
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 70 of 107 PageID #:197
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 71 of 107 PageID #:198
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 72 of 107 PageID #:199
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 73 of 107 PageID #:200
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 74 of 107 PageID #:201
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 75 of 107 PageID #:202
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 76 of 107 PageID #:203
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 77 of 107 PageID #:204
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 78 of 107 PageID #:205
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 79 of 107 PageID #:206
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 80 of 107 PageID #:207
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 81 of 107 PageID #:208
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 82 of 107 PageID #:209
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 83 of 107 PageID #:210
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 84 of 107 PageID #:211
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 85 of 107 PageID #:212
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 86 of 107 PageID #:213
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 87 of 107 PageID #:214
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 88 of 107 PageID #:215
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 89 of 107 PageID #:216
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 90 of 107 PageID #:217
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 91 of 107 PageID #:218
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 92 of 107 PageID #:219
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 93 of 107 PageID #:220
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 94 of 107 PageID #:221
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 95 of 107 PageID #:222
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 96 of 107 PageID #:223
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 97 of 107 PageID #:224
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 98 of 107 PageID #:225
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 99 of 107 PageID #:226
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 100 of 107 PageID #:227
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 101 of 107 PageID #:228
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 102 of 107 PageID #:229
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 103 of 107 PageID #:230
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 104 of 107 PageID #:231
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 105 of 107 PageID #:232
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 106 of 107 PageID #:233
Case: 1:21-cv-05148 Document #: 10 Filed: 11/03/21 Page 107 of 107 PageID #:234
